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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                     Criminal No. 19-50(1) (ADM/TNL)
___________________________________

United States of America,

                            Plaintiff,                SECOND MOTION FOR
                                                      SUPPLEMENTAL DISCOVERY
vs.

Johntez Leondis Randle,

                            Defendant.

__________________________________

       Johntez Randle, through his prior counsel, moved the Court to order the

government to provide Mr. Randle with supplemental discovery relevant to a motion he

has filed pursuant to Franks v. Delaware. As discussed in the prior motion, Mr. Randle

has raised a colorable claim under Franks, and evidence of witness credibility in this

context falls under the disclosure umbrella of Brady v. Maryland. Thus, additional

discovery relevant to the alleged controlled purchase of narcotics from Mr. Randle –

which was used to obtain search warrants at issue in this case – must be disclosed to the

defense. This second motion will identify further discovery necessary to the defense in

relation to Mr. Randle’s Franks motion.

       As argued in the prior motion for supplemental discovery, Officer Efrem

Hamilton’s assertions in his affidavit in support of the three challenged search warrants

are subject to serious doubt sufficient to require a Franks hearing. Off. Hamilton alleges a

personal history with Mr. Randle not borne out by the available evidence. And given the



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weakness of the allegations of probable cause, argued by Mr. Randle in his four-corners

memorandum, the credibility of each allegation is of the utmost importance.

       The Court’s decisions on Mr. Randle’s pretrial motion to suppress evidence and

his motion pursuant to Franks v. Delaware will depend in significant part on Hamilton’s

affidavits. As noted above, Hamilton made several representations in the affidavits and in

his supplementary declaration that appear to be either inaccurate, contradictory, or false.

As noted supra, preliminary investigation by the defense has already cast doubt on the

veracity and credibility of Hamilton’s sworn testimony in both the affidavits and the

declaration. In addition to the evidence requested in his prior motion, Mr. Randle also

requests that the government disclose the following regarding the alleged October 2018

controlled buy:

       1.  Police reports regarding the controlled buy;
       2.  Recordings of audio or video surveillance of alleged controlled buy;
       3.  Date and time of the controlled buy;
       4.  Specific location of the controlled buy;
       5.  Description of any suspect vehicles involved in the controlled buy;
       6.  Records regarding the buy funds used during the controlled buy, including but
           not limited to:
           a. personal expense sheet
           b. payment for evidence and infromation form;
       7. Phone number Mr. Randle was alleged to have used to arrange the controlled
           buy;
       8. Any evidence that controlled buy funds were later located by police;
       9. Any laboratory reports regarding testing of drugs purchased in the controlled
           buy;
       10. Any documents demonstrating chain of custody of drugs purchased in the
           controlled buy;
       11. Names of officers who conducted surveillance of Mr. Randle after the alleged
           controlled buy;
       12. All CRI logs from the alleged controlled buy; and
       13. All emails between officers and the court regarding the issuance of any warrants
           relating to the alleged October 2018 controlled buy.


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       Hamilton’s credibility is an important issue moving forward, and evidence related

to the alleged controlled buys in October 2018 and late January 2019 is crucial to Mr.

Randle’s argument that he should be granted a Franks hearing and to the development of

effective cross-examination and impeachment. To the extent that the government has

information tending to cast doubt on or contradict the information set forth in Hamilton’s

search warrant affidavits, that information must be produced. The due process

requirements of the Fifth Amendment mandate the disclosure of evidence that is material

to Mr. Randle’s defense, including material that is relevant to witness credibility and

impeachment.

       If the Court concludes that it is not proper to disclose the sought evidence to Mr.

Randle, he argues in the alternative that the government submit it to the Court for in

camera review, and that the Court then determine if the evidence should be disclosed to

Mr. Randle.

       Based on the above-stated arguments, Mr. Randle respectfully requests that the

Court compel the disclosure of the above-specified information, as well as any other

information related to Officer Efrem Hamilton’s past interactions with Mr. Randle that

falls within the purview of Brady and Giglio.




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Dated: September 13, 2019         Respectfully submitted,

                                  S/Thomas H. Shiah
                                  Thomas H. Shiah #100365
                                  331 Second Ave South, Ste 705
                                  Minneapolis, Minnesota 55401
                                  (612) 338-0066

                                  ATTORNEY FOR DEFENDANT




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